
I concur in the opinion of the majority except as to the issue dealing with the authority of the trial court to use the summary procedure for contempt. In my view, the statute is clear and only becomes ambiguous when the majority insists upon reading the statute *Page 52 
to allow the court to ignore Currie's constitutional rights on the facts of this case. I do not dispute that Currie's conduct falls within the definition of contempt in sec. 785.01(1), Stats. The only question is whether the judge had the authority to proceed summarily and deny Currie protection of the fundamental constitutional rights provided for in sec. 783.03(1), Stats.
Section 785.03(2), Stats., authorizes a judge to impose punitive sanctions summarily "only for the purpose of preserving order in the court and protecting the authority and dignity of the court." (Emphasis added.)
The word "preserving" is not defined in ch. 785, Stats., governing contempt. In the absence of a statutory definition, all words are construed according to common and approved usage. Sec. 990.01(1), Stats. The common meaning of such words may be established by using dictionary definitions. State v. Gilbert,115 Wis.2d 371, 378, 340 N.W.2d 511, 515 (1983). The word "preserve" is defined in Webster's Third New International Dictionary 1794 (1976) as:
to keep safe from injury, harm, or destruction: guard or defend from evil: protect, save . . . [;] to keep alive, intact, in existence, or from decay . . . [;] to retain in one's possession . . . [;] maintain. . . .
In my view, by its common meaning, the use of the phrase "preserving order" was intended to limit the use of summary contempt to ongoing conduct that cannot be controlled by means other than the immediate imposition of sanctions. For example, summary contempt is properly used when a person, such as a witness, whose presence is required in court, continues to disrupt the proceeding by refusing to obey a lawful order of the court. It is only in this type of situation that *Page 53 
there is justification for the court to "impose the punitive sanction immediately after the contempt of court" as required by the statute. See sec. 785.03(2), Stats. The "immediate" imposition of the sanction required by the statute is consistent with limiting the use of the summary procedure to ongoing contempt. The statute requires an "immediate" sanction because of the necessity for action to "[preserve] order in the court" and to protect "the authority and dignity of the court."
The majority finds sec. 785.03(2), Stats., ambiguous and then completely ignores the statute's legislative history in arriving at its meaning. The purpose of engaging in statutory interpretation is to ascertain and give effect to the intent of the legislature. Ball v. District4, Area Board, 117 Wis.2d 529, 537-38,345 N.W.2d 389, 394 (1984). When the language of the statute is ambiguous or unclear, this court will examine the scope, history, context, subject matter, and object of the statute in order to discern the legislative intent.Redevelopment Authority v. Bee Frank, Inc.,120 Wis.2d 402, 409, 355 N.W.2d 240, 244 (1984). An examination of the legislative history of ch. 785, Stats., does not support the majority's broad construction but instead demonstrates an ever-increasing curtailment of a judge's power to suspend a citizen's constitutional rights by use of the summary procedure.
Prior to 1975, the statutes allowed a judge to summarily punish for any "contempt committed in the immediate view and presence of the court. . . ."1 The penalty *Page 54 
was limited to thirty days in jail and a fine of $250.2 A person punished summarily was still subject to prosecution for criminal contempt.3
The broad power to use the summary contempt procedure was curtailed by the passage of sec. 256.04, Stats. (1975).4 While subsec. (1)(a) still allowed the *Page 55 
broad use of the summary procedure, subsec. (1)(b) limited its use when the judge became personally involved. In such situations, the statute provided: "[T]he court may then employ the summary contempt procedureonly immediately after the allegedly contemptuous behavior has taken place, if necessary to preserve theorder of the court and protect the authority of the court." (Emphasis added.)
Nonsummary contempt under subsec. (2) of sec.256.04, Stats. (1975), only allowed the "same judge" to preside with the defendant's consent. It also retained the protection of certain constitutional rights for the defendant in addition to allowing him the right of"substitution of judge."
In 1979, the legislature once again revised the statutes in regard to contempt of court by creating ch. 785, *Page 56 
Stats., as it now exists. Once again, under sec. 785.03(1) (b), Stats.,5 a defendant facing a punitive sanction via a nonsummary procedure has the right of substitution of judge. In addition, the defendant may prevent a judge who is personally involved from presiding over the contempt proceeding. While protection of the rights of the defendant and the procedure for conducting nonsummary contempt are in all major respects the same as under the previous statute, sec. 785.03(2) regulating the use of summary procedure is significantly changed.6
Old sec. 256.04, Stats. (1975), still allowed for the general use of summary contempt for acts taking place in the presence of the court, except when the judge was personally involved. In such situations, the judge could *Page 57 
act only "if necessary to preserve the order of the court and protect the authority of the court." The new sec.785.03(2), Stats., now limits the use of the summary procedure to the latter situation, i.e., where it is necessary for preservation of order and protection of the court's authority and dignity.
The legislative history unquestionably demonstrates a pattern of curtailing the power of a judge to use summary contempt.7 Before the 1975 revision of the statute, a judge could summarily punish a defendant for any contemptuous act committed in the presence of the court. The revised statute prohibited a judge from proceeding summarily when the judge was personally involved. In such situations, the judge could only proceed summarily in order to preserve the order of the court. Under the present statute, the judge may only use the summary procedure when the conduct is in the court's presence and only to preserve the order and protect the dignity of the court.
The majority reads the "preserving order" language of sec. 785.03(2), Stats., as referring to the effect of the contemptuous conduct on the order of the court at the time of the occurrence of the conduct and not as to the time of the finding of contempt or imposition of the sanctions. The majority concludes, "If Currie's argument prevailed, the summary imposition of punitive sanctions could rarely, if ever, occur. . . ." P. 13. In my view, this is exactly what the legislature intended. *Page 58 
When a judge uses the power to proceed against a citizen summarily, the judge is acting in the role of policeman, prosecutor, judge and jury. The exercise of this extraordinary power by one person denies citizens, such as Currie, the very protections the legislature has reserved for them in sec. 785.03(1)(b), Stats., to wit, all of the rights reserved to criminal defendants under the state's criminal code contained in chs. 967 to 973, Stats. Obviously, such rights as the right to notice, to the presumption of innocence, to a neutral and detached magistrate, to a trial by jury, and to be represented by counsel should not be denied to citizens except in the most extreme circumstances. Chapter 785, Stats., recognizes the importance of these fundamental rights and allows for exceptions only when there is no other alternative.
The legislature has recognized the necessity to limit the power of the judge to literally suspend the constitution of the State of Wisconsin and of the United States to situations where it is absolutely necessary to the continued operation of the court. In my view, the statute only allows for summary contempt in those situations where the record will support a finding by the judge that it was necessary for the ongoing proceedings of the court. In situations where the normal punitive sanctions are sufficient, however, summary sanctions simply cannot be imposed. Judges should not search for opportunities to suspend citizens' constitutional rights; rather, they should seek to protect them.
In Harris v. United States, 382 U.S. 162 (1965), the defendant had summarily been found in contempt of court pursuant to Rule 42(a) of the Federal Rules of Criminal Procedure for failing to answer questions in a grand jury proceeding. Rule 42(a) reads as follows: *Page 59 
A criminal contempt may be punished summarily if the judge certifies that he saw or heard the conduct constituting the contempt and that it was committed in the actual presence of the court. The order of contempt shall recite the facts and shall be signed by the judge and entered of record.
Harris at 164; Fed.R.Crim.P. 42(a).
While Rule 42(a) is more akin to sec. 256.04, Stats. (1975), the predecessor of sec. 785.03(2), Stats., the analysis of the Harris Court is helpful.
Rule 42(a) was reserved "for exceptional circumstances,"Brown v. United States, 359 U.S. 41, 54,3 L.Ed.2d 609, 619, 79 S.Ct 539 (dissenting opinion), such as acts threatening the judge or disrupting a hearing or obstructing court proceedings. Ibid. We reach that conclusion in light of "the concern long demonstrated by both Congress and this Court over the possible abuse of the contempt power," ibid., and in light of the wording of the Rule. Summary contempt is for "misbehavior" . . . in the "actual presence of the court." Then speedy punishment may be necessary in order to achieve "summary vindication of the court's dignity and authority." . . . But swiftness was not a prerequisite of justice here. Delay necessary for a hearing would not imperil the grand jury proceedings.
Id. at 164 (citations omitted). The Harris Court concluded:
We are concerned solely with "procedural regularity" which, as Mr. Justice Brandeis said in Burdeauv. McDowell, 256 U.S. 465, 477, 65 L.Ed. 1048, 1051,41 S.Ct 574, 13 A.L.R. 1159 (dissenting), has been "a large factor" in the development of our liberty. Rule 42(b) prescribes the "procedural regularity" for all *Page 60 
contempts in the federal regime except those unusual situations envisioned by Rule 42(a) where instant action is necessary to protect the judicial institution itself.
Id. at 167 (footnote omitted).
On the morning of July 24, 1984, Bruce Currie was ordered into court to perform his duty as a juror on a criminal case. A few hours later, he had been found guilty of contempt and was facing a fine of $1,000 or, in default thereof, forty-five days in the county jail. The constitutional rights of the defendant who was on trial were protected, and the defendant's case was adjourned to guarantee his right to a fair trial. Currie was denied notice, the presumption of innocence, the right to a jury trial, the right to counsel, and, last but not least, a requested adjournment. The record reveals no finding of necessity to preserve the order in the court, and the facts of record would not support such a finding. Currie addressed one prejudicial comment to the defendant which was the basis for the court's terminating the proceedings. There is nothing in the record which indicates that when confronted by the court Currie was other than respectful to the court or that he was challenging the authority of the court in any manner. There was no threat to the judge's control of the courtroom which required "summary vindication of the court's dignity and authority." This was not one of those "unusual situations . . . where instant action is necessary to protect the judicial institution itself." I would reverse and remand with directions to vacate the finding of contempt. The trial court may still proceed to file a complaint under sec. 785.03(1)(b), Stats., if deemed appropriate. *Page 61 
In this case, the trial judge was understandably frustrated by the effect of Currie's conduct on the trial. The trial judge properly acted to protect the defendant's right to a fair trial. In my view, the legislature has protected the right to a fair trial for all defendants in contempt actions, save those whose continued contemptuous conduct prevents the court from proceeding in an orderly manner to dispose of the business coming before it. While requiring the trial judge to respect a defendant's constitutional rights may result in inconvenience to the court, I do not believe that such a result can fairly be termed "absurd." I believe that the majority's interpretation is inconsistent with the fundamental policy recently stated in In re B.L.P., 118 Wis.2d 33,39, 345 N.W.2d 510, 514 (Ct.App. 1984), where we stated, "Although following the procedures required in ch. 785, Stats., regarding the exercise of a court's contempt power is much more cumbersome and time consuming, it is not the policy of the law to choose expedience over due process when, in fact, due process should be afforded."
1 Section 256.04, Stats. (1973), provided:Contempt punished summarily. Contempts committed in the immediate view and presence of the court may be punished summarily; in other cases the party shall be notified of the accusation and have a reasonable time to make his defense.
2 Section 256.06, Stats. (1973), provided:Punishment for contempt. Punishment for contempt may be by fine or by imprisonment in the jail of the county where the court may be sitting, or both, in the discretion of the court; but the fine shall in no case exceed the sum of two hundred and fifty dollars nor the imprisonment thirty days; and when any person shall be committed to prison for the nonpayment of any such fine he shall be discharged at the expiration of thirty days.
3 Section 256.07, Stats. (1973), provided:Criminal prosecution for contempt. Persons punished for a contempt, under ss. 256.03 to 256.05, shall, notwithstanding, be liable to indictment or information for such offense; but the court before which a conviction shall be had on such indictment or information shall, in forming its sentence, take into consideration the punishment before inflicted. Nothing contained in ss. 256.03 to 256.05 shall be construed to extend to proceedings against parties or officers as for any contempt for the purpose of enforcing any civil right or remedy.
4 Section 256.04, Stats. (1975), provided:Procedure in criminal contempts. (1) SUMMARY PROCEDURE. (a) A criminal contempt may be punished summarily if the judge certifies on the record that the judge has seen or heard the conduct constituting the contempt and that it was committed in the immediate view and presence of the court.
(b) If, in the situation described in par. (a), the court has become personally embroiled with the alleged contemnor or has been attacked in such a way that the personal feelings of the judge could reasonably be expected to have been affected, or has adopted an adversary posture with regard to the alleged contemnor, the court may then employ the summary contempt procedure only immediately after the allegedly contemptuous behavior has taken place, if necessary to preserve the order of the court and protect the authority of the court.
(2) NONSUMMARY PROCEDURE. (a) In all contempt situations other than those described in sub. (1), there shall be a nonsummary procedure conducted by a different judge, unless the defendant consents to the same judge.
(b) A nonsummary criminal contempt shall be prosecuted on notice. Such proceeding shall be prosecuted by the district attorney, the attorney general or an attorney specially appointed by the court for that purpose. On a verified petition setting forth the essential facts constituting the criminal contempt charged and described as such, on information and belief, the court may take jurisdiction of the special proceeding of criminal contempt and issue the necessary process of order to show cause or warrant for arrest. The defendant is entitled to a reasonable time for the preparation of the defense, right to bail, substitution of judge, and is presumed innocent until proven guilty beyond a reasonable doubt to the satisfaction of all jurors. Upon a verdict or finding of guilty the court shall sign and enter of record an order reciting the facts and fixing the punishment.
5 Section 785.03(1)(b), Stats., provides:(b) Punitive sanction. The district attorney of a county, the attorney general or a special prosecutor appointed by the court may seek the imposition of a punitive sanction by issuing a complaint charging a person with contempt of court and reciting the sanction sought to be imposed. The district attorney, attorney general or special prosecutor may issue the complaint on his or her own initiative or on the request of a party to an action or proceeding in a court or of the judge presiding in an action or proceeding. The complaint shall be processed under chs. 967 to 973. If the contempt alleged involves disrespect to or criticism of a judge, that judge is disqualified from presiding at the trial of the contempt unless the person charged consents to the judge presiding at the trial.
6 Section 785.03(2), Stats., provides:(2) SUMMARY PROCEDURE. The judge presiding in an action or proceeding may impose a punitive sanction upon a person who commits a contempt of court in the actual presence of the court. The judge shall impose the punitive sanction immediately after the contempt of court and only for the purpose of preserving order in the court and protecting the authority and dignity of the court.
7 Neither party challenges the power of the legislature to prescribe the procedure to be followed in contempt proceedings. Wisconsin has long recognized this legislative authority. See Comment,Contempt — Control by the Courts and by the Legislature inWisconsin, 9 Wis. L. Rev. 278, 281 (1934). See also In reB.L.P., 118 Wis.2d 33, 345 N.W.2d 510 (Ct.App. 1984). *Page 62 